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				IN THE MATTER OF M.A.P.W.2016 OK 39Case Number: 112660Decided: 04/04/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 39, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN THE MATTER OF M.A.P.W., an alleged deprived Child Under 18 years of Age.

BRITTANY WILLIAMS, Appellant,
v.
STATE OF OKLAHOMA ex rel., DEPARTMENT OF HUMAN SERVICES, Appellee,
and
M.A.P.W., Appellee.




ORDER OF SUMMARY DISPOSITION


¶1 Rule 1.201 of the Oklahoma Supreme Court Rules provides that "[i]n any case in which it appears that a prior controlling appellate decision is dispositive of the appeal, the court may summarily affirm or reverse, citing in its order of summary disposition this rule and the controlling decision." Okla. S. Ct. Rule 1.201.

¶2 After reviewing the record in this case, THE COURT FINDS that our decision in In the Matter of T.T.S., 2015 OK 36, ___P.3d___ involves the same primary legal question as the above-styled appeal; and therefore, our holding in In the Matter of T.T.S. warrants reversal of the underlying trial court judgment.1

¶3 IT IS THEREFORE ORDERED that the decision of the Court of Civil Appeals, entered on May 15, 2015, is vacated; and the trial court's Order Sustaining State's Motion to Terminate Parental Rights Upon a Jury Verdict, filed February 20, 2014, is reversed; and the cause is remanded for further proceedings consistent with this order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 4TH day of APRIL, 2016.


/S/CHIEF JUSTICE



¶4 Reif, C.J., Combs, V.C.J., Watt, Edmondson, Colbert, Gurich, JJ., concur;

¶5 Kauger, Winchester, Taylor, JJ., dissent;




Taylor, J., with whom Kauger, J., and Winchester, J., join dissenting


"I would vacate the Court of Civil Appeals opinion and would affirm the trial court's judgment and verdict of the jury terminating parental rights. The trial court acted in the best interest of the child."



FOOTNOTES


1 The principal question presented in In the Matter of T.T.S. was whether in proceedings to terminate parental rights, brought pursuant to 10A O.S. 2011 § 1-4-904(B)(5), the jury instructions, verdict forms, and final order must include the specific conditions a parent failed to correct.








	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2015 OK 36, IN THE MATTER OF T.T.S.Cited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
